Case 24-32360 Doci1 Filed 09/12/24 Entered 09/12/24 15:12:10 Desc Main
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ELCs ie ratty fer tt=

SEP 12 2024

TIME: _o 25 0 yp
CLERK, U.S. BANKRUPTCY COURT
ST. PAUL, MINNESOTA

United States Bankruptcy Court for the:

District of

Chapter you are filing under:
CX Chapter 7

C) Chapter 11

QO Chapter 42

CQ] chapter 13

Case number (if known):

LJ Check if this is an
amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—calied a
joint case—and jn joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debfor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debfor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Eo Identify Yourself

06/24

About Debtor 1: About Debtor 2 (Spouse Only In a Joint Gase):
4. Your full name .
Stephanie
Write the name thatis on your Figtname First name
govemmentssued picture r
identification {for example, La Donna _
your driver's license or Middle name Middle name
passport). Cary-Blake
Bring your picture Last name Last name
identification to your meeting
with the trustee. Suffix (Sr., Jr. fh, HB Suffix (Sr., dr., If, HN)
. All other names you Stephanie
have usedin the lasta = Fistname First pame
years La'Denna
Inchud ied Middle name Middia name
nclude your married or
maiden names and any Lucas Last name
assumed, trade names and ast name
doing business as names. _
First name First name
Do NOT list the name of any
separate legal entity such as =
a corporation, partnership, or ‘Middle name Middle name
LLC that is not filing this
petition. Last name Last name
Business name (if applicable} Business name (if applicable)
Business name (f applicable} Business name (if applicable)
. Only the last 4 digits of { 7 9 5
your Social Security XXX — XK — XK KK —
number or federal OR OR
Individual Taxpayer
Identification number = 9 XK — XX — D xx — xx —
(TTIN}

Official Form 101

Voluntary Petition for Individuats Filing for Bankruptcy

page 1

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Debtor 1 Stephanie Ladonna Cary-Blake Case number (i known)
First Name Middie Name Last Nama
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
4, Your Employer _ -
Identification Number EN 7 TT EN. 7. UWWCTT
(EIN), if any.
EN =N
5. Where you live if Debtor 2 lives at a different address:
Homeless
Number Street Number Street
Homeless
Saint Paul MN 55106
City State ZIP Code Clty State ZIP Code
Ramsey
County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you ai this malling address.

Hf Debtor 2's mailing address |s different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

this district to file for
bankruptcy

Xi Over the last 180 days before filing this petltlon,
| have lived in this district longer than in any
other district.

(1 | have another reason. Explain,
(See 28 U.S.C. § 1408.)

1716 Third Street East

Number Street Number Street

P.O, Box P.O. Box

Saint Paul MN 55106

City State ZIP Code City Stale ZIP Code
6. Why you are choosing Check one: Check one:

LE Over the last 180 days before filing this petition,
[ have tived in this district longer than in any
other district.

(1) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 104

Voluntary Petition for Individuats Filling for Bankruptcy

page 2

Debtor 1

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Stephanie Ladonna Cary-Biake Case number (known)

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First Name: Middle Name Last Name

Ee Tell the Court About Your Bankruptcy Case

The chapter of the
Bankrupicy Code you
are choosing to file
under

How you will pay the fee

Cheek one. {For a brief description of each, see Notice Required by 11 U.S.C. § 942(b) for individuals Filing
for Bankruptey (Form 2010)}). Also, go to the top of page 1 and check the appropriate box.

Xj Chapter 7

L} Chapter 11
UI Chapter 12
C] Chapter 13

(1 | will pay the entire fee when I file my petition. Please check with the clerk’s office in your
iocal court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

LI | need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuais to Pay The Filing Fee in installments (Official Form 103A).

Md f request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

XQ No

Have you filed for
bankruptcy within the
last 8 years? CI Yes. District When Gase number
MM/ DB SYYYY
District When Case number
MM/ DD/YYYY:
District When Case number
MM/ DD /YYYY
‘40. Are any bankruptcy Ti No
cases pending or being
filed by a spouse who is L) Yes. Debtor Relationship to you
not filing this case with District Wher Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship ta you
District When Case number, if known,
MM /DD/ YYYY

od.

Do you rent your
residence?

Official Form 701

XI No. Go toline 12.
©] Yes. Has your landlord obtained an eviction judgment against you?

E) No. Go te line 12.

Q) Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptey petition.

Voluntary Petition for Individuais Filing for Bankruptcy page 3

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Debtor 4 Stephanie Ladonna Cary-Blake Case number (#knoun)

First Nama Middle Name Last Name

Report About Any Businesses You Own as a Sole Proprieter

; 12. Are you a sole proprietor (J No. Go to Part 4.
' of any full- or part-time
business? x Yes. Name and location of business

A sole proprietorship is a Vontaj Fitness and Wellness Studio Inc.
business you operate as an -
Name of business, if any

individual, and is net a

separate legal entity such as :
a corporation, partnership, or 1716 Third Street East
LLG. Nuntber Street

If you have more than one
sole proprietorship, use a

separate sheet and attach i! Saint Paul MN 55106
to this petition. Clty State ZiP Code

Check the appropriate box to describe your business:
CL} Health Care Business (as defined in 71 U.S.C. § 101(27A)}
CI Single Asset Real Estate (as defined in 11 U.S.C. § 104{51B)}
©] Stockbroker (as defined in 11 U.S.C. § 101(53A))
L) Commodity Broker {as defined in 11 U.S.C. § 101(6})

xl None of the above

' 43, Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadiines. If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code, and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
are you a small business if any of these documents do not exist, follow the procedure in 11 U.S.C. § 4116(1)(B).
debtor? %

For a definition of smalf No. Jam not filing under Chapter 11.
business debtor, 415 . . wo
11U.S.C. § 101(51D). LI No. fam filing under Chapter 11, but |am NOT a small business debtor according to the definition in

the Bankruptcy Code.

C) Yes. tam filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Code, and | do not choose to proceed under Subchapter V of Chapter 71.

CI Yes. fam filing under Chapter 41, | arn a small business debtor according to the definition in the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

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Debtor 1 Stephanie Ladonna Cary-Blake Case number (itkeown)
First Name Middle Name Last Nama

a Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

44, Do you own orhave any Xino

: property that poses or is
alleged to pose a threat Cl yes. What is the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For exarnple, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

If immediate attention is needed, why is it needed?

Where is the property?

Number Street

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 5

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Debtor 1 Stephanie Ladonna Cary-Blake
First Nama Middle Name Last Name

Gase number (# known)

Ea Explain Your Efforts to Receive a Briefing About Credit Counseling

About Debtor 4: About Debior 2 (Spouse Only In a Joint Case}:

15, Teli the court whether
you have received a
briefing about credit
counseling.

You must check one: You must cheek one:

® 1 received a briefing from an approved credit (} | received a briefing from an approved credit

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy, You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

lf you file anyway, the court
can dismiss your case, You
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

LJ I received a briefing from an approved credit

counseling agency within the 180 days before I
tiled this bankruptcy petition, but | do not have a
certificate of completion.

Within #4 days after you file this bankruptcy petition,

you MUST file a copy of the certificate and payment
plan, if any.

C] | certify that | asked for credit counseling

services from an approved agency, bul was
unable to obtain those services during the 7
days after 1 made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask far a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made io obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court Is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CJ} 1 am not required io recelve a briefing about

credit counseling because of:

C) Incapacity. | have a mental iiiness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances,

QO Disability. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after |
reasonably tried ta do so.

4 Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion ior waiver of credit counseling with the court.

counseling agency within the 180 days before 1
filed this bankruptcy petition, and | received a
certificate of completion.

Atfach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit

counseling agency within the 180 days before |
tiled this bankruptcy petition, but Ido not have a ©
certificate of completion.

Within 14 days after you file this bankruptcy petition, .
you MUST file a copy of the certificate and payment |
plan, if any.

LI | certify that | asked for credit counseling

services from an approved agency, but was
unable te obtain those services during the 7
days afier | made my request, and exigent
circumstances merit a 30-day temporary walver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
whai efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
silll receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment pian you
davaloped, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and Is limited to a maximum of 15
days.

LJ 1 am not required to recelve a briefing about

credit counseling because of:

C) incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

() Disability. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after
reasonably tried to do so.

U Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required fo receive a
briefing about credit counseling, you must file a
motion for walver of credit counseling with the court.

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Debtor 1 Stephanie Ladonna Cary-Blake

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Case aumber (thrown)

First Nama Middle Nama

Last Name

a Answer These Questions for Reporting Purposes

2 1s. What kind of debts do
/ you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101{8}
as “incurred by an individual primarily for a personal, family, or household purpose.”

L] No. Go to line 18b.
Yes. Go to line 17.

16b. Are your debts primarily business debts? Susiness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

LY No. Go te fine 16c.
QC] Yes. Go to line 17.

16c. State the type of debts you awe thaf are not consumer debis or business debts.

417. Are you filing under
Chapter 7?

Do you estimate that after

any exempt property is
excluded and

LJ No. i am not filing under Chapter 7. Go to line 18.

x) Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

No

administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

UL] Yes

. 18, How many creditors do

you estimate that you
owe?

L) 1-49
¥ 50-99
100-199

LJ 200-999

LE 1,000-5,000
CE 5,001-10,000
LE 40,001-25,000

() 25,001-50,000
C2 §0,001-100,000
(3 Mere than 100,000

"49, How much do you

estimate your assets to

2XI s0-$50,000
C) $50,001-$106,000

EL) $1,000,001-$10 million
L) $10,090,001-$50 million

LU $500,000,001-$1 billion
©] $1,000,000,001-$10 billlon

be worth?

© $10,000,000,001-$50 billion
(J More than $50 biliion

C) $50,000,001-$100 million

3 $100,001-$500,000
L) $100,000,001-$500 million

LE $500,001-$1 million

' 20. How much do you
estimate your liabilities
to be?

Sign Below

QC) $500,000,001-$4 billion

() $1,000,600,001-$10 billion
CL) $10,000,000,001-$50 bitlion
(4 Mere than $50 billion

C) s0-50,000 Ast 000,001 $1 million

EL) $50,001-$100,000 $10,000,001-$50 million
WM $100,001-$500,000 LI $50,000,001-$100 million
LJ} $500,001-$1 million LJ $100,000,004-$500 million

For you

Official Form 104

| have examined this petition, and | declare under penalty of perjury that the information provided fs true and
correct.

If] have chosen to fife under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 14,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this documeni, | have obtained and read the notice required by 11 U.S.C. § 342(b).

E request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

IT understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptey case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

we Veriteg by PDEFI lize
: 09/07/2024 :
x |e be ee x
I c
Signature of Debtor t

Executed on 09/07/2024
MM / DD /YYYY

Signature of Debtor 2

Executed on
MM/ BD /YYYY

Voluntary Petition for Individuals Filing for Bankruptcy page 7

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Debtor 1 Stephanie Ladonna Cary-Blake Case number tirnown
First Name Middle Name Last Nama

i, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
For your attorney, if you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s}
| the notice required by 14 U.S.C. § 342(b) and, in a case in which § 707(b}(4}(D) applies, certify that E have no

. If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition Is incorrect.

: by an attorney, you do not

: need to file this page.
: x Date
Signature of Attorney for Debtar MM / DD IYYYY
Printed name
Firm namie
Number Street
City State ZiP Cade
Contact phone Email address
Bar number State

Official Form 104 Voluntary Petition for Individuats Filing for Bankrupicy page 8
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Debtor 1 Stephanie Ladonna Cary-Blake Gase number (i known)

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First Name Middie Nama

Last Name

For you if you are filing this
: bankruptcy without an

aitorney

| If you are represented by
_ an attorney, you do not
: need to file this page.

t BS Vorlfied by PDFFiler |
} { 85/07/2025 '
x bare gh x

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens, you could lose your right te file another
Case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan te pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly ciaim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying ar hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud Is a serious crime; you could be fined and imprisoned,

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed, You must also
be familiar with any state exemption jaws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

K No

Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

E) No
Yes

Did you pay or agree to pay someone who is not an atterney to help you fill out your bankruptcy forms?
wt No

L] Yes. Name of Person .
Aitach Bankruptey Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in tiling without an attorney. |
have read and understood this notice, and | am aware thaf filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

Signature of Debtor 4 Signature of Debtor 2
Date 09/07/2024 Date
MM/DD fYYYY MM/ DD /YYYY
Contact phone Contact phone
Cell phone Cell phone
Email address Stephanieladonna07@maii.com Email address

Official Form 107

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